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                 OF AMERICA
              14
              15                          UNITED STATES DISTRICT COURT
              16                        SOUTHERN DISTRICT OF CALIFORNIA
              17
              18 JOSEPH E. BULFER,                )            Case No. 3:20-cv-00877-LAB-MSB
                                                  )
              19            Plaintiff,            )            JOINT MOTION TO DISMISS
                                                  )            THE CASE WITH PREJUDICE
              20       vs.                        )
                                                  )            Judge: Hon. Larry Alan Burns
              21   SAN DIEGO AMERICAN INDIAN      )
                   HEALTH CENTER; UNUM LIFE       )            Complaint Filed: May 11, 2020
              22   INSURANCE COMPANY OF           )            Trial Date:      None Set
                   AMERICA; and THE GUARDIAN LIFE )
              23   INSURANCE COMPANY OF           )
                   AMERICA,                       )
              24                                  )
                            Defendants.           )
              25                                  )
              26              IT IS HEREBY STIPULATED, by and between plaintiff JOSEPH E. BULFER
              27 (“Plaintiff”) and defendant THE GUARDIAN LIFE INSURANCE COMPANY OF
              28 AMERICA (“Guardian”), by and through their respective attorneys of record, that this
LAW OFFICES
                                                           1               Case No. 3:20-cv-00877-LAB-MSB
 MESERVE,
 MUMPER &                                                        JOINT MOTION TO DISMISS THE CASE WITH
HUGHES LLP
                   175073.1
                                                                                                PREJUDICE
              Case 3:20-cv-00877-LAB-MSB Document 19 Filed 09/15/20 PageID.158 Page 2 of 2



               1 action shall be dismissed in its entirety, with prejudice as to all defendants pursuant to
               2 Rule 41(a) of the Federal Rules of Civil Procedure. Each party shall bear his or its
               3 own attorneys’ fees and costs.
               4              The parties seek the Court’s approval of this dismissal of the case with
               5 prejudice.
               6              IT IS SO STIPULATED.
               7
               8 Dated: September 15, 2020                    Jon Mower
                                                              Adam G. Wentland
               9                                              Nesrein El-Haddad
                                                              THEODORA ORINGHER PC
              10
              11
                                                              By: /s/ Jon Mower
              12                                                 Jon Mower
                                                                 Attorneys for Plaintiff
              13                                                 JOSEPH E. BULFER
              14 Dated: September 15, 2020                    Jason A. James
                                                              MESERVE, MUMPER & HUGHES LLP
              15
              16
                                                              By: /s/ Jason A. James
              17                                                 Jason A. James
                                                                 Attorneys for Defendant
              18                                                 THE GUARDIAN LIFE INSURANCE
                                                                 COMPANY OF AMERICA
              19
              20
              21                                    SIGNATURE CERTIFICATION
              22              Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
              23 & Procedures Manual, I hereby certify that the content of this document is acceptable
              24 to Jon Mower, counsel for Plaintiff, Joseph E. Bulfer, and that on September 15, 2020
              25 I obtained Mr. Mower’s authorization to affix his electronic signature to this document.
              26
                                                                       By: /s/ Jason A. James
              27                                                          Jason A. James
              28
LAW OFFICES
                                                                  2                Case No. 3:20-cv-00877-LAB-MSB
 MESERVE,
 MUMPER &                                                                JOINT MOTION TO DISMISS THE CASE WITH
HUGHES LLP
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                                                                                                        PREJUDICE
